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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION                                          NOV 2 2 2017
                                                                                  Cl erk . US District Court
                                                                                     District Of Montana
                                                                                            &!ling s
  UNITED STATES OF AMERICA,
                                                     CR 16-82-BLG-SPW-1
                        Plaintiff,

  vs.                                                  ORDER

  DIMARZIO SWADE SANCHEZ,

                        Defendant.

        Before the Court is Defendant Dimarzio Sanchez's motion to instruct the

jury of the mandatory minimum sentence for first degree murder (Doc. 194).

        Sanchez argues the Sixth Amendment requires juries to be informed of

mandatory minimum sentences so they can fulfill their historical role of nullifying

unjust punishments, citing Senior Judge Jack B. Weinstein's opinion in United

States v. Polizzi, 549 F.Supp.2d 308 (E.D.N.Y. 2008). Judge Weinstein's lengthy

historical analysis of the traditional role of the jury is detailed and well researched.

However, even if the Court found Judge Weinstein's opinion persuasive, it was

subsequently overruled by the Second Circuit in United States v. Polouizzi, 564

F.3d 142 (2nd Cir. 2009). Although Sanchez argues the Second Circuit didn't

address Judge Weinstein's Sixth Amendment holding, the Second Circuit's

opinion clearly states"[o ]ur precedent forecloses the conclusion that Polizzi had a


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Sixth Amendment right to trial by a jury that had been instructed on the applicable

mandatory minimum sentence." Polouizzi, 564 F.3d at 160.

      To date, neither the Ninth Circuit nor the Supreme Court has held the Sixth

Amendment requires juries be informed of mandatory minimum sentences. When

those courts have discussed instructing the jury regarding sentencing, they have

held it is inappropriate. Shannon v. United States, 512 U.S. 573, 579 (1994) (A

jury "should be admonished to reach its verdict without regard to what sentence

might be imposed.") (internal quotation and citation omitted); United States v.

Olano, 62 F.3d 1180, 1201 (9th Cir. 1995) ("[I]t is inappropriate for a jury to

consider or be informed of the consequences of their verdict.") (internal quotation

and citation omitted). The Court is aware of only two circumstances where it is

appropriate to instruct the jury regarding sentencing. First, when the jury serves a

sentencing function, such as in a capital case. Shannon, 512 U.S. at 579. Second,

when something is said or done at trial that misleads the jury regarding sentencing.

Shannon, 512 U.S. at 587. Absent those two circumstances, instructing the jury

regarding sentencing-other than to admonish it not to consider sentencing-is

inappropriate. Sanchez's motion is denied.
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      DATED this     o?..?    day of November,~

                                              ~                f ? J~
                                              SUSANP. WATTERS
                                              United States District Judge


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